                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


Antoinette Lavern and Tracy Kramer, on           )
behalf of themselves and all other               )
similarly situated individuals,                  )
                                                 )       Case No. 3:15-cv-01111
                Plaintiffs,                      )
                                                         Judge Waverly Crenshaw
                                                 )
         v.                                      )       Mag. Judge Barbara D. Holmes
                                                 )
Asurion Insurance Services, Inc. and             )
Asurion Services, LLC,                           )
                                                 )
                Defendants.
                                                 )

                              JOINT STIPULATION OF SETTLEMENT

         This Joint Stipulation of Settlement (“Joint Stipulation”) was made and entered into by,

between, and among Named Plaintiff Tracy Kramer, Opt-In Plaintiff LaSere Reid-Smith, and

Opt-In Plaintiff Teinna Dukes (collectively, “Plaintiffs”) and Defendants Asurion Insurance

Services, Inc. (“Asurion Insurance”) and Asurion Services, LLC (“Asurion Services”)

(collectively, “Defendants”), and is conditioned upon the Court’s approval and entry of a Final

Order.

A.       DEFINITIONS

         The following terms, when used in this Joint Stipulation, have the meanings set forth

below, except when they are otherwise or more precisely defined in another Section.

         1.     “Action” means the above-captioned civil action.

         2.     “Court” means the United States District Court, Middle District of Tennessee.

         3.     “Defendants’ Counsel” means Littler Mendelson, P.C.

         4.     Plaintiffs and Defendants are referred to collectively as “the Parties.”



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        5.     “Plaintiffs’ Counsel” means Johnson Becker, PLLC.

        6.     “Settlement Agreements” means collectively the Settlement Agreements each

Plaintiff has with the Defendant who employed him or her to settle the Action; all three

Settlement Agreements are attached collectively hereto as Exhibit A.

        7.     “The settlement” means the agreement by each Plaintiff with the Defendant who

employed him or her to settle the Action per the terms of this Joint Stipulation and the Settlement

Agreements.

B.      BACKGROUND

        Asurion Services employed Plaintiff Kramer as an hourly at-home customer service

representative in Wisconsin from October 2012 to June 2013. Asurion Services employed

Plaintiff Reid-Smith as an hourly at-home customer service representative in Georgia from

December 2013 to September 2014. Asurion Insurance employed Plaintiff Dukes as an hourly at-

home customer service representative in North Carolina from May 2013 to April 2016.1

        Plaintiff Kramer filed the original Complaint and his consent to join this lawsuit on

October 20, 2015. (Dkt. No. 1.) Plaintiff Kramer subsequently filed the First Amended

Complaint on December 9, 2015.2 (Dkt. No. 13.) Plaintiff Reid-Smith filed her consent to join

this lawsuit as a party plaintiff on November 16, 2015. (Dkt. No. 11.) Plaintiff Dukes filed her

consent to join this lawsuit as a party plaintiff on July 11, 2016. (Dkt. No. 71.)



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  Another opt-in plaintiff, Everett Douglas, Jr., filed his consent to join on November 16, 2015
(Dkt. No. 11), but because he was not employed by either Defendant during the relevant time
period, he withdrew his consent to join on July 11, 2016 (Dkt. No. 72).
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  Former plaintiff Aurora Lee joined in the filing of the original Complaint, but did not join in
Plaintiffs’ filing of the First Amended Complaint, thus voluntarily dismissing herself from this
lawsuit. Ms. Lee’s consent to join (Dkt. No. 1-2) was stricken by the Court in its March 2, 2016
Order (Dkt. No. 38). Also, former plaintiff Antoinette Lavern joined in filing both the original
Complaint and the Amended Complaint, but she withdrew her consent to join this action on May
3, 2016 (Dkt. No. 64).
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        As addressed below, Plaintiff Kramer hereby withdraws the pending Motion for

Conditional Certification (Dkt. No. 39) and is no longer seeking a class- or collective-wide

settlement in this Action. Plaintiffs now assert only individual claims for alleged unpaid overtime

wages under the Fair Labor Standards Act, 29 U.S.C. § 216(b) (“FLSA”).

        The Parties conducted significant investigation regarding the merits of Plaintiffs’

individual allegations and Defendants’ defenses. The investigation consisted of witness

interviews; the deposition by written question of Plaintiff Reid-Smith; and reviewing, analyzing,

and exchanging (in informal discovery) documents and electronic data including timekeeping

records, employee personnel records, and payroll data. Counsel further analyzed the applicable

law as applied to the facts discovered regarding Plaintiffs’ allegations, Defendants’ defenses

thereto, and the damages claimed by Plaintiffs.

        Even today, the Parties disagree on procedural and substantive issues. Plaintiffs believe

that they would prevail on their individual claims if this litigation proceeded. Defendants believe

they would win summary judgment on each Plaintiff’s claims.

        For settlement purposes only, the Parties submit this Joint Stipulation. If for any reason

this FLSA settlement is not approved by the Court, this Joint Stipulation will be void and of no

force and effect, and the Parties expressly reserve their rights with respect to the prosecution and

defense of the Action as if this Joint Stipulation never existed.

C.      REASONS FOR SETTLEMENT

        1.     Plaintiffs and Plaintiffs’ Counsel believe that the individual claims asserted in the

Action have merit. However, Plaintiffs’ Counsel acknowledge the expense and length of

continued proceedings necessary to prosecute the litigation against Defendants through trial and

possible appeals. Plaintiffs’ Counsel also have taken into account the uncertain outcome and the



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risk of any litigation, as well as the difficulties and delays inherent in such litigation and the

likelihood of protracted appellate review. Plaintiffs’ Counsel engaged in intensive arm’s length

negotiations with Defendants’ counsel in order to achieve a settlement. Plaintiffs and Plaintiffs’

Counsel believe that the settlement reached confers substantial benefits upon each Plaintiff and

that the settlement is fair, reasonable, and adequate, in accordance with the law, and in the best

interests of Plaintiffs.

           2.   Defendants deny liability or wrongdoing of any kind associated with Plaintiffs’

claims. Although Defendants vigorously contest the allegations in the Action and deny that they

committed any wrongful action or violation of law, Defendants believe nonetheless that further

litigation would be protracted, expensive, and contrary to their best interests. In light of these

realities, Defendants believe that settlement is the best way to resolve the disputes among the

Parties.

           3.   This Joint Stipulation and the consideration provided herein are made and

received solely on the basis of a compromise of highly disputed claims, and this Joint Stipulation

is not, and may not be construed as, an admission by Defendants of any liability whatsoever, nor

is or shall it be construed as an admission of any act or fact whatsoever, including any violation

of federal, state or local statute, ordinance directive, regulation or order (including executive

orders) or common law.

D.         MONETARY TERMS OF SETTLEMENT

           1.   In consideration for the terms, conditions and undertakings by or relating to

Plaintiffs in this Joint Stipulation and the mutual promises and covenants contained herein and in

the Settlement Agreements, Defendants agree to pay in total $9,000.00 to settle all three

Plaintiffs’ claims, which is inclusive of all payments to each Plaintiff, Plaintiffs’ attorneys’ fees



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and costs, and enhanced payments to Plaintiff Kramer and Plaintiff Reid-Smith. Following Court

approval of this Joint Stipulation and the dismissal with prejudice of the Action, Defendants will

pay each Plaintiff their respective settlement amount in accordance with Sections A and D of

their respective Settlement Agreements.

       2.      Plaintiffs’ attorneys’ fees and costs will be subtracted from the gross settlement

amount and paid to Plaintiffs’ Counsel. Plaintiffs’ attorneys’ fees and costs in this Action amount

to $3,408.68; however, $250.00 will be subtracted from this amount because Plaintiffs’ Counsel

agreed to pay for the deposition cancellation costs Defendants incurred for the noticed April 27,

2016 depositions of Plaintiff Reid-Smith and former Plaintiff Douglas. Therefore, the total

amount of Plaintiffs’ attorneys’ fees and costs is $3,158.68. This amount of attorneys’ fees and

costs will be allocated amongst the three Plaintiffs as set forth in their Settlement Agreements.

The Parties agree that the amount of attorneys’ fees and costs are fair and reasonable.

       3.      The amounts to be received by the three plaintiffs are set forth in their individual

Settlement Agreements. Plaintiff Kramer (who is the sole remaining Named Plaintiff and

provided information and assistance in the prosecution of this Action) and Plaintiff Reid-Smith

(who was deposed by written question) will each receive an additional incentive payment.

       4.      Half of each Plaintiff’s settlement payment shall be treated for tax purposes as

wages for the purpose of IRS reporting, while the other half shall be treated for tax purposes as

payments for liquidated damages (as shall the incentive payments to Plaintiff Kramer and

Plaintiff Reid-Smith). Defendants will prepare and issue to each Plaintiff a W-2 for half of the

settlement payment and an IRS Form 1099 for the remaining settlement payment allocated as

liquidated damages (and incentive payment, if applicable). Defendants will be responsible for

calculating the amount of withholdings for the wages portion of the settlement, and shall be



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responsible for the calculation of the employer’s share of payroll taxes resulting from any wage

payments to Plaintiffs. All wage payments to Plaintiffs will be subject to withholding as required

by applicable law, including, but not limited to, income tax withholding and the employee

portion of any payroll taxes. Defendants will be responsible for paying all applicable employer-

share tax contributions. Defendants will report payments to Plaintiffs’ Counsel on an IRS Form

1099.

E.      RELEASE OF CLAIMS

        1.     Upon the Court’s approval of this settlement and entry of the Final Order,

Plaintiffs will release and discharge Defendants and their current or former owner, parent,

subsidiary and/or affiliated companies, and their predecessors, successors, assigns, officers,

owners, directors, managers, partners, shareholders, employees, agents, attorneys, insurers,

representatives and assigns, and any related parties (“Released Parties”) from any and all claims,

causes of action, or liabilities based on, arising out of, or related to any allegation that

Defendants violated Plaintiffs’ rights under any applicable wage and hour law, including, but not

limited to, any allegation that Defendants did not properly compensate each Plaintiff under any

federal, state, or local statute, common law or contract for all hours worked, and including, but

not limited to, all claims, causes of action, and liabilities asserted in the Action. Released claims

will include, but are not limited to, any and all claims arising from or dependent on state or local

wage and hour laws, the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., and all of their

implementing regulations, regardless of whether or not those claims were expressly alleged in

the Action.




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         2.     Plaintiffs are withdrawing all class and collective action claims alleged in the

Complaint and their pending Motion for Conditional Certification (Dkt. No. 39) and are no

longer seeking a class- or collective-wide settlement in this Action.

         3.     Prior to and as a condition of receiving a settlement payment, each Plaintiff must

accept and sign the terms of their respective Settlement Agreement, containing a release which

reads:

         Employee releases (i.e., gives up) all known and unknown claims that Employee
         has against [appropriate Defendant who employed the Plaintiff] through the date
         on which Employee signs this Settlement Agreement, and its current or former
         owner, parent, subsidiary and/or affiliated companies, and its and their
         predecessors, successors, assigns, officers, owners, directors, managers, partners,
         shareholders, employees, agents, attorneys, insurers, representatives and assigns,
         and any related parties, including but not limited to [other Defendant who did not
         employ the Plaintiff] (collectively, “Released Parties”), except claims that the law
         does not permit Employee to waive by signing this Settlement Agreement. For
         example, Employee releases all common law contract, tort, or other claims
         Employee might have, as well as all claims Employee might have under the Fair
         Labor Standards Act (FLSA), the WARN Act, Title VII of the Civil Rights Act of
         1964, Sections 1981 and 1983 of the Civil Rights Act of 1866, the Americans
         With Disabilities Act (ADA), the Family and Medical Leave Act (FMLA), the
         Employee Retirement Income Security Act of 1974 (ERISA), and similar state or
         local laws, including but not limited to the laws of Tennessee and [the respective
         state where each Plaintiff worked for either Defendant].

Any Plaintiff who fails to execute this release will have no right to receive a settlement payment.

         4.     Plaintiffs’ Counsel’s execution of this Joint Stipulation, when approved by the

Court, and after such approval has become final, shall fully effectuate the release provisions of

Paragraph F(1) above to which each Plaintiff is bound.

         5.     By executing their respective Settlement Agreement, each Plaintiff shall be

deemed to and shall have waived, released, discharged and dismissed all released claims as set

forth in Paragraph F(1) above, with full knowledge of any and all rights they may have, and they




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hereby assume the risk of any mistake in fact in connection with the true facts involved, or with

regard to any facts which are now unknown to them.

F.      DISMISSAL WITH PREJUDICE

        The Parties agree to cooperate and take all steps necessary and appropriate to dismiss this

Action, with prejudice. The Parties agree that, upon Court approval of the Joint Stipulation and

the Settlement Agreements, the Action will be dismissed with prejudice.

G.      RESOLUTION OF FUTURE DISPUTES

        Plaintiffs confirm that, other than the instant Action, there is no claim, charge, complaint,

or action currently pending by them against Defendants that includes wage and hour claims or

allegations relating to retaliation for wage and hour claims. In the event that any such claim,

charge, complaint or action is filed, Plaintiffs shall not be entitled to recover any damages or

other relief therefrom, including costs and attorneys’ fees. This Joint Stipulation is intended to

resolve all wage and hour related issues, known or unknown, pled or otherwise, as of the date of

this Joint Stipulation.

H.      CONSTRUCTION

        The terms and conditions of this Joint Stipulation are the result of significant arms-length

negotiations between and among the Parties. Accordingly, this Joint Stipulation is not to be

construed in favor of or against any party by reason of the extent to which any party or its

counsel participated in the drafting of the Joint Stipulation.

I.      INTEGRATION

        This Joint Stipulation and the Settlement Agreements contain the entire agreement

between each Plaintiff and Defendants relating to the settlement and transactions contemplated

hereby, and all prior or contemporaneous agreements, understandings, representations, and



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statements, whether oral or written and whether by a party or such party’s legal counsel, are

merged herein. No rights hereunder may be waived except in writing.

J.      BINDING ON SUCCESSORS AND ASSIGNS

        This Joint Stipulation shall be binding upon and inure to the benefit of the Parties and

their respective heirs, trustees, executors, administrators, successors, and assigns.

K.      PARTIES’ AUTHORITY

        The signatories hereto represent that they are fully authorized to enter into this Joint

Stipulation and bind the respective Parties to its terms and conditions.




                                [SIGNATURE PAGE FOLLOWS]




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       Respectfully submitted, this 4th day of October, 2016.



/s/ Jacob R. Rusch                               /s/ Leslie A. Dent
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                              CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2016, I electronically filed the foregoing JOINT
STIPULATION OF SETTLEMENT with the Clerk of Court using the ECF system, which
sent notification of such filing to the following:

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